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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

EBLAL ZAKZOK,
SUMAYA HAMADMAD,
FAHED MUQBIL,
JOHN DOE #1, and
JANE DOES #2-3                                   Civil Action No.:
                 Plaintiffs,

       v.
                                                 COMPLAINT FOR DECLARATORY AND
DONALD TRUMP, in his official capacity           INJUNCTIVE RELIEF
as President of the United States,
1600 Pennsylvania Avenue NW
Washington, D.C. 20035

U.S. DEPARTMENT OF HOMELAND
SECURITY,
Serve on: Elaine Duke
Acting Secretary of Homeland Security
Washington, D.C. 20528;

U.S. DEPARTMENT OF STATE,
Serve on: Rex W. Tillerson,
Secretary of State
2201 C Street NW
Washington, D.C. 20520;

ELAINE DUKE
In her official capacity as Acting Secretary
of Homeland Security
Washington, D.C. 20528;

REX W. TILLERSON
In his official capacity as Secretary of State
2201 C Street NW
Washington, D.C. 20520


                       Defendants.




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                                      INTRODUCTION

    1. This case is a challenge to President Donald Trump’s third attempt at banning Muslims

       from the United States. On September 24, 2017, President Trump issued a proclamation

       titled “Enhancing Vetting Capabilities and Processes for Detecting Attempted Entry Into

       the United States by Terrorists or Other Public-Safety Threats.” Proclamation No. 9645,

       82 Fed Reg. 45,161 (Sept. 24, 2017) (“Proclamation”). The Proclamation, inter alia,

       indefinitely banned virtually all travel to the United States from six Muslim-majority

       countries. Plaintiffs are citizens or permanent residents of the United States who will not

       be able to reunite with their family members or will otherwise be injured as a direct result

       of the Proclamation.

    2. The President previously attempted to halt the entry of Muslims to the United States on

       two occasions. One week after taking office, fulfilling a campaign pledge to effectuate a

       “total and complete shutdown of Muslims entering the United States,”1 President Trump

       issued an executive order titled “Protecting the Nation from Foreign Terrorist Entry into

       the United States.” Exec. Order No. 13,769, 82 Fed. Reg. 8977 (Jan. 27, 2017) (“EO-1”).

       The order suspended travel from seven majority-Muslim countries for 90 days and

       banned all refugees from those countries. EO-1 contained an exception for “minority

       faiths,” making explicit its discriminatory intent, and the order was quickly enjoined by

       federal courts. See Washington v. Trump, 847 F.3d 1151 (9th Cir. 2017); Int'l Refugee

       Assistance Project v. Trump, 857 F.3d 554 (4th Cir.), cert. granted, 137 S. Ct. 2080

       (2017) (per curiam).

1
 Jenna Johnson, Trump Calls for ‘Total and Complete Shutdown of Muslims Entering the United
States,’ N.Y. Times, Dec. 7, 2015, https://www.washingtonpost.com/news/post-
politics/wp/2015/12/07/donald-trump-calls-for-total-and-complete-shutdown-of-muslims-
entering-the-united-states/.


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    3. On March 27, 2017, the President issued what he described as a “watered down” version

         of EO-1,2 also called “Protecting the Nation From Foreign Terrorist Entry Into the United

         States.” Exec. Order No. 13780, 82 Fed. Reg. 13,209 (Mar. 6, 2017) (“EO-2”). It too was

         enjoined by several federal courts as unconstitutional and in violation of the Immigration

         and Nationality Act (“INA”), §§ 202(a)(1)(A), 207, 212(f), Pub. L. No. 89-236, 66 Stat.

         187 (codified as amended at 8 U.S.C. §§ 1152(a)(1)(A), 1182(f)). Hawaii v. Trump, 859

         F.3d 741 (9th Cir.) (per curiam), cert. granted sub nom. Trump v. Int’l Refugee

         Assistance Project, 137 S. Ct. 2080 (2017). On June 26, 2017, the Supreme Court

         consolidated the Hawaii and Maryland cases, granted certiorari, and narrowed the

         preliminary injunctions entered by the lower courts. Trump v. Int’l Refugee Assistance

         Project, 137 S. Ct. 2080, 2086-87 (2017) (per curiam).

    4. Like the previous two iterations, President Trump’s September 2017 attempt at instituting

         a Muslim ban invokes national security concerns. In defending EO-2, the government

         argued that a suspension on travel was necessary to protect the country from the threat of

         terrorist attacks from nationals of the targeted countries. The Ninth Circuit rejected that

         argument, noting that there had been “no finding that present vetting standards are

         inadequate, and no finding that absent the improved vetting procedures there likely will

         be harm to our national interests.” Hawaii, 859 F.3d at 771.

    5.   The government now offers a new – and equally unsupported – rationale. According to

         the Proclamation, between July 9, 2017 and September 15, 2017, the Departments of

         State and Homeland Security carried out a “worldwide review” of visa procedures in



2
 Jacob Pramuk, Trump May Have Just Dealt a Blow to His Own Executive Order, CNBC, Mar.
15, 2017, http://www.cnbc.com/2017/03/15/trump-may-have-just-dealt-a-blow-to-his-own-
executive-order.html.


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     order to determine which countries were “inadequate” based on an analysis of their

     “identity-management protocols, information-sharing practices, and risk factors.”

     Proclamation at §1(e). This contrived process identified 47 countries as “inadequate” or

     “at risk” of becoming “inadequate.” Id. In the end, however, the administration acted on

     the same religious animus that animated the first two unlawful orders and imposed

     indefinite wholesale ban on citizens of five of the same countries that were the subject of

     EO-1 and EO-2: Iran, Libya, Somalia, Syria, and Yemen. Another Muslim majority

     country, Chad, was also added to the list. Finally, North Korean nationals, as well as

     certain Venezuelan government officials and their families, were also banned.

6.   Throughout, President Trump’s objective has remained constant: to keep Muslims out of

     the United States. The visa “review” is a pretext. Adding North Koreans and small

     group of Venezuelan government officials to the mix does not change this, but rather is a

     transparent attempt to add a fig leaf of religious neutrality to the order. The primary effect

     of the Proclamation is to exclude the nationals of several Muslim countries without

     adequate justification as to why or how this would protect the homeland.

7. The Proclamation imposes concrete harms on American Muslim citizens and permanent

     residents whose family members are barred from traveling to the United States. Like its

     predecessors, EO-1 and EO-2, the Proclamation violates the fundamental constitutional

     guarantee that the government may not establish or favor one religion over another. Like

     the President’s earlier orders, it also violates the prohibition against discrimination on the

     basis of race, nationality or country of origin contained in the Immigration and

     Nationality Act, and exceeds the President’s authority under that law to identify classes

     of aliens who are not eligible for entry to the United States.




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                              JURISDICTION AND VENUE

8. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this action

   arises under the U.S. Constitution, the Administrative Procedure Act (“APA”) § 10(e), 5

   U.S.C. §706, and the Immigration and Nationality Act (“INA”) §§ 202(a)(1)(A), 207,

   212(f), Pub. L. No. 89-236, 66 Stat. 187 (codified as amended at 8 U.S.C. §§

   1152(a)(1)(A), 1182(f)).

9. This Court is authorized to award the requested declaratory and injunctive relief under

   the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, and the APA, 5 U.S.C. § 706.

10. Venue is proper in this District under 28 U.S.C. §1391(b)(2) and (e)(1). Defendants are

   officers or employees of the United States acting in their official capacities, and agencies

   of the United States. Plaintiff Jane Doe #2 resides in this District. No real property is

   involved in this action.

                                         PARTIES

11. Plaintiff Eblal Zakzok, PhD, is a native of Syria and a lawful permanent resident of the

   United States, who currently resides in Columbus, Ohio. Dr. Zakzok teaches Surveying,

   Remote Sensing and Geographical Information Systems at the Ohio State University. He

   was tortured in Aleppo by the Syrian regime and granted asylum in the United States in

   2014. Dr. Zakzok’s wife and three of his children were granted asylee benefits in 2016

   and came to the U.S. to join him. But Dr. Zakzok’s eldest daughter was forced to remain

   in Turkey, as she was over 21 at the time and thus not eligible for derivative asylum

   benefits. On August 25, 2017, Plaintiff Zakzok filed a Petition for Alien Relative, Form I-

   130, seeking approval for his daughter, Turkie, to immigrate to the United States. The

   Petition is currently still pending with USCIS.




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12. Plaintiff Sumaya Hamadmad is an American citizen of Syrian descent who currently

   resides in Ohio. Plaintiff Hamadmad’s sister is a Syrian national, currently residing in

   Amman, Jordan, who is trying to visit Hamadmad and her other relatives in the United

   States. She also plans to participate in an academic project with American researchers

   and applied for a B1/B2 visa on October 3, 2017. Plaintiff Hamadmad’s father-in-law is a

   Syrian national, living in Syria. Hamadmad’s husband filed an I-130 Petition for Alien

   Relative on behalf of his father. The Petition is currently still pending with USCIS.

13. Plaintiff Fahed Muqbil is an American citizen of Yemeni descent who currently resides

   in Mississippi. In 2012, Muqbil married his wife, a Yemeni national. They have two

   daughters together, one of whom has a serious birth defect and is currently receiving

   medical treatment in the United States. Plaintiff Muqbil seeks to bring his wife, who now

   resides in Egypt, to the United States as an immigrant on the basis of their marriage. In

   June 2017, Muqbil submitted an I-130 Petition for Alien Relative on behalf of his wife,

   which was subsequently approved on August 17, 2017. Plaintiff Muqbil and his wife

   have an appointment for a visa interview in Egypt scheduled for October 10, 2017.

14. John Doe #1 is a United States citizen residing in New Jersey. In 2017, he married a

   Syrian national in the United States. John Doe #1 seeks to bring his wife, who now

   resides in Portugal, back to the United States as an immigrant on the basis of their

   marriage.

15. Jane Doe #2 is an American citizen of Syrian descent who currently resides in Maryland

   with her mother, her husband, and her child. Earlier this year, Jane Doe #2 submitted an

   I-130 Petition on behalf of her father, a Syrian national living in a Gulf nation, who seeks




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   to immigrate to the United States and be reunited with his family. USCIS approved the

   petition, but her father has not yet been interviewed for his visa application.

16. Jane Doe #3 is an American citizen residing in Minnesota. She is engaged to a Somali

   foreign national residing in Malaysia, who seeks to immigrate to the United States and

   marry Jane Doe #3. She has submitted an I-129F petition on behalf of her fiancé, which

   USCIS has approved. However, the fiancé’s visa application is still pending.

17. Defendant Donald J. Trump is the President of the United States. He issued the original

   January 27, 2017, Executive Order (EO-1), the second March 6, 2017, Executive Order

   (EO-2), and most recently, the September 24, 2017, Proclamation that is the subject of

   this Complaint.

18. Defendant U.S. Department of Homeland Security (“DHS”) is a federal cabinet agency

   responsible for implementing and enforcing the INA and the Proclamation that is the

   subject of this Complaint. DHS is a Department of the Executive Branch of the United

   States Government, and is an agency within the meaning of 5 U.S.C. § 522(f). The U.S.

   Citizenship and Immigration Services (“USCIS”) is a component of DHS that is

   responsible for adjudicating requests for immigration benefits for individuals located

   within the United States.

19. Defendant U.S. Department of State is a federal cabinet agency responsible for

   implementing the Proclamation that is the subject of this Complaint. It is a department of

   the Executive Branch of the United States Government, and it is an agency within the

   meaning of 5 U.S.C. § 522(f).




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    20. Defendant Elaine Duke is the Acting Secretary of Homeland Security. Acting Secretary

       Duke has responsibility for overseeing enforcement and implementation of the

       Proclamation by all DHS staff. She is sued in her official capacity.

    21. Defendant Rex Tillerson is the Secretary of State and has responsibility for overseeing

       enforcement and implementation of the Proclamation by all State Department staff. He is

       sued in his official capacity.

                                        STATEMENT OF FACTS

                      President Trump’s Statements on Muslims and Islam

    22. Defendant Trump has made frequent, explicitly bigoted statements about Islam and

       Muslims in print, on television, via official statements, and on Twitter. EO-1, EO-2, and

       the Proclamation are the manifestations of that religious animus.

    23. On or about March 10, 2016, in an interview aired on CNN, Defendant Trump declared

       “Islam hates us.”3

    24. On December 13, 2015, during a Fox News interview, Defendant Trump was asked if his

       campaign promise to implement a Muslim Ban would apply to a Canadian businessman

       who is Muslim. His response equated Islam to a disease and said that its followers were

       sick, disease-ridden people. Specifically, Defendant Trump stated: “There’s a sickness.

       They’re [Muslims are] sick people. There’s a sickness going. There’s a group of people

       that is very sick.”4




3
  Theodore Schleifer, Donald Trump: ‘I think Islam hates us,’ CNN, Mar. 10, 2016,
http://www.cnn.com/2016/03/09/politics/donald-trump-islam-hates-us/.
4
  Dan Friedman, Trump cites ‘sickness’ in defense of Muslim immigration ban proposal,
Washington Examiner, Dec. 13, 2015, http://www.washingtonexaminer.com/trump-cites-
sickness-in-defense-of-muslim-immigration-ban-proposal/article/2578269.


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    25. Defendant Trump’s campaign statements regarding Islam and Muslims reveal that the

       intent of the Proclamation, like EO-1 and EO-2 before it, is to disfavor Islam and

       stigmatize Muslims.

    26. After winning the Republican nomination, Defendant Trump began using more neutral

       language to describe his Muslim Ban pledge.

    27. On or about July 24, 2016, however, Defendant Trump conceded that the neutral

       language was simply a veneer intended to subdue the public controversy generated by his

       discriminatory plan. In an interview on NBC, Defendant Trump explained: “People were

       so upset when I used the word Muslim. Oh, you can’t use the word Muslim…And I’m

       OK with that, because I’m talking territory instead of Muslim.”5

                                             EO-1

    28. On January 27, 2017, Defendant Trump issued EO-1. Section 3(c) suspended entry of

       immigrant and nonimmigrant nationals of seven Muslim-majority countries: Iran, Iraq,

       Libya, Somalia, Sudan, Syria, and Yemen.

    29. Although EO-1 did not use the words Islam or Muslim, the pretext was apparent from the

       beginning. A close Trump advisor, Rudolph Giuliani, boasted on national television that

       he had been asked to “show [Donald Trump] the right way to do [the Muslim Ban]

       legally.” Giuliani said he had formed a commission to find a way to achieve the Muslim

       Ban’s scope without mentioning Islam or Muslims.6




5
  Carrie Dann, Donald Trump: I’m Running Against Hillary Clinton, Not ‘Rest of the World,’
NBC News, July 24, 2016, https://www.nbcnews.com/storyline/2016-conventions/trump-i-m-
running-against-hillary-not-rest-world-n615581.
6
  Amy Wang, Trump asked for a ‘Muslim ban,’ Giuliani says – and ordered a commission to do
it ‘legally,’ Wash. Post, Jan. 29, 2017,
http://wapo.st/2khcw0t?tid=ss_tw&utm_term=.ab2db76b30de.


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    30. Indeed, EO-1 contained explicit preferences for “religious minorities” in the seven

       Muslim-majority countries targeted by the ban. Sections 5(b) and 5(e) established special

       benefits only available to persons who were not Muslim. Section 5(b) authorized the

       Secretary of State “to prioritize refugee claims made by individuals on the basis of

       religious-based persecution … provided that the religion of the individual is a minority

       religion in the individual’s country of nationality.” Since the countries that were the

       subject of the ban were overwhelmingly Muslim, these religious minorities were by

       definition non-Muslim people. Section 5(e) contained a similar explicit preference for

       persons who were not Muslim from the seven banned countries.

    31. EO-1 also contained a reference to “honor killings,” a term that is commonly used to

       portray domestic violence in the Muslim community as sanctioned by Islam. It suggested

       that the threat of admitting persons who engaged in “honor killings” was what, in part,

       justified the categorical visa ban on seven Muslim-majority countries.

    32. Defendant Trump emphasized EO-1’s religious preference. He explained during an

       interview with the Christian Broadcasting Network that his order was “going to help

       [persecuted Christians]” as opposed to Muslims. His answer made clear that the intent of

       EO-1 was to treat foreign nationals in the seven identified countries differently based on

       their faith.7

    33. EO-1 was immediately challenged in several courts and its operative provisions were

       enjoined, including by a nationwide injunction issued on February 3, 2017.              See

       Washington v. Trump, No. C17-0141-JLR, 2017 WL 462040 (W.D. Wash. Feb. 3, 2017)



7
 Carol Morello, Trump Signs Order Temporarily Halting Admission of Refugees, Promises
Priority for Christians, Wash. Post, Jan. 27, 2017,
http://wapo.st/2kbZl05?tid=ss_tw&utm_term=.816cd900dc2d.


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   (enjoining sections 3(c), 5(a)-(c), and 5(e) of EO-1); Darweesh v. Trump, No. 17 CV 480,

   2017 WL 388504 (E.D.N.Y. Jan. 28, 2017) (prohibiting the government from removing

   individuals pursuant to EO-1); Aziz v. Trump, No. 1:17 CV 116, 2017 WL 580855 (E.D.

   Va. Feb. 13, 2017) (granting preliminary injunction of portions of EO-1 on Establishment

   Clause grounds).

34. On February 9, 2017, the Ninth Circuit Court of Appeals issued a unanimous decision

   upholding a temporary restraining order issued by the United States District Court for the

   Western District of Washington enjoining and restraining Sections 3(c) and 5(a)-(c) of

   the First Muslim Ban. See Washington, 847 F.3d 1151.

35. Defendant Trump revoked EO-1 via a subsequent order, Exec. Order No. 13780,

   “Protecting the Nation from Foreign Terrorist Entry Into the United States” (EO-2).

                                           EO-2

36. Defendant Trump signed EO-2 on March 6, 2017, which was a clear continuation of

   Defendant Trump’s attempt to discriminate against Muslims and broadcast a message of

   disfavor against Islam.

37. Aside from a new “Policy and Purpose” section, EO-2 is largely the same as EO-1.

   Indeed, EO-2 contains entire sections of EO-1’s text, including EO-1’s Section 5(g),

   Section 6, Section 8, and Section 10.

38. EO-2 established the same mechanism as EO-1 to extend the 90-day ban applicable to

   foreign nationals from six of the seven banned countries. EO-2 §2. And it adopted the

   same mechanism to review information from foreign countries to determine whether

   additional countries should be added. Id.




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    39. EO-2 excluded Iraq from its scope and exempted lawful permanent residents and current

       visa holders, but it kept the 120-day refugee ban and reduced the refugee cap to 50,000.

       EO-2 also maintained EO-1’s reference to “honor killings” associated with Muslims.

    40. A senior advisor to Defendant Trump, Stephen Miller, explained that the goal of EO-2’s

       revisions was “to be responsive to the judicial ruling” and that the changes in EO-2 were

       to be “mostly minor, technical differences. Fundamentally, you are still going to have the

       same, basic policy outcome for the country.”8

    41. The national security claims underlying EO-2 were obviously pretextual. The Department

       of Homeland Security had conducted an assessment concluding that national origin was

       an “unlikely indicator” of terrorist threats to the US, and that the countries affected by

       EO-1 and EO-2 were not the top countries of origin for immigrants who actually

       committed acts of terrorism inside the United States.9

    42. On March 15, 2017, the U.S. District Court for the District of Hawaii issued a nationwide

       injunction enjoining Defendants from enforcing or implementing sections 2 and 6 of EO-

       2. Hawaii v. Trump, 241 F.Supp.3d 1119 (D. Haw. 2017). On June 12, 2017, the Ninth

       Circuit largely upheld the injunction. See Hawaii, 859 F.3d at 756.

    43. On March 16, the U.S. District Court for the District of Maryland also issued a

       nationwide injunction against parts of EO-2, Int’l Refugee Assistance Project v. Trump,

       241 F.Supp.3d 539 (D. Md. 2017), which was upheld in relevant part by the Fourth

       Circuit on May 25, 2017. Int’l Refugee Assistance Project, 857 F.3d at 544.

8
  Miller: New Order Will Be Responsive to the Judicial Ruling, Fox News (Feb. 21, 2017),
http://video.foxnews.com/v/5331823544001/?#sp=show-clips.
9
  Citizenship Likely an Unreliable Indicator of Terrorist Threat to the United States, Dept. of
Homeland Sec., https://assets.documentcloud.org/documents/3474730/DHS-intelligence-
document-on-President-Donald.pdf (draft report obtained and released by Associated Press on
Feb. 24, 2017).


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44. The Defendants in Hawaii and Int’l Refugee Assistance Project petitioned the Supreme

   Court for a writ of certiorari and applied for a stay of the injunctions pending appeal. On

   June 26, 2017, the Supreme Court granted certiorari, consolidated the two cases, and

   partially stayed the preliminary injunctions, allowing the Second Muslim Ban to become

   effective, except as to foreign nationals with a “bona fide relationship with a person or

   entity in the United States.” See Trump, 137 S. Ct. at 2088.

45. The Court stayed the Hawaii injunction with respect to “foreign nationals abroad who

   have no connection to the United States,” but reaffirmed that sections 2(c), 6(a), and 6(b)

   of EO-2 “may not be enforced against foreign nationals who have a credible claim of a

   bona fide relationship with a person or entity in the United States.” Id. at 2088. The

   Court’s order specifically protected foreign nationals with a “close familial relationship”

   with a person in the United States. Id.

46. Following the Court’s ruling, the Department of Homeland Security adopted a narrow

   interpretation of “close familial relationship” designed to exclude as many Muslims as

   possible from the United States.      DHS’s definition of “close familial relationship”

   excluded grandparents and aunts but allowed mothers-in-law and siblings. This definition

   was challenged and, on July 13, 2017, the Hawaii district court modified its preliminary

   injunction to prohibit Defendants from applying the Second Muslim Ban to grandparents,

   grandchildren, brothers-in-law, sisters-in-law, aunts, uncles, nieces, nephews, and cousins

   of persons in the United States.      The court concluded that such individuals have

   sufficiently “close family relationship” to fall within the ambit of the preliminary

   injunction, as modified by the Supreme Court. Hawaii v. Trump, No. CV 17-00050

   DKW-KSC, 2017 WL 2989048 (D. Haw. July 13, 2017).




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     47. Defendants provided no rationale for their narrow definition of “close familial

        relationship” and no security-based rationale exists for allowing siblings but not

        grandparents of U.S. persons to travel to the United States. The only explanation for such

        an irrational definition is a desire to keep as many Muslims as possible out of the United

        States.

     48. On July 19, 2017, the Supreme Court denied the government’s motion seeking

        clarification of the Court’s June 26, 2017 order, thereby leaving the Hawaii court’s July

        13, 2017 modified injunction in place. See Trump v. Hawaii, No. 16-1540, 2017 WL

        3045234, 86 U.S.L.W. 3039 (U.S. July 19, 2017).

     49. Under the terms of EO-2 and a subsequent Presidential Memorandum, the entry ban on

        national of the six countries without such bona fide relationship remained in effect until

        September 24, 2017,10 the day the President signed the Proclamation at issue in this case.

     50. The Supreme Court had scheduled oral argument in the Int’l Refugee Assistance Project

        and Hawaii cases for October 10, 2017. But following the Proclamation, the Court

        removed the oral argument from its calendar and ordered additional briefing from the

        parties on whether the Proclamation renders the cases moot. Trump v. Int’l Refugee

        Assistance Project, No. 16-1436, 2017 WL 2405595 (U.S. Sept. 25, 2017).

                                       The Proclamation

     51. On September 24, 2017, the day EO-2 was set to expire, Defendant Trump signed the

        latest iteration of the Muslim ban, the Proclamation at issue in this case. The

        Proclamation, inter alia, permanently bans people from most of the Muslim countries



10
  See Memorandum of June 14, 2017 on Effective Date in Executive Order 13780, 82 Fed. Reg.
27,965 (June 19, 2017).



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        targeted in EO-1 and EO-2: Iran, Libya, Syria, Yemen, and Somalia. It also includes a

        ban on people from Chad, another Muslim-majority country.

     52. The Proclamation also bans travel from North Korea (from which a negligible number of

        people come to the United States) as well as some government officials from Venezuela.

        The impact of the Proclamation, however, is overwhelmingly on Muslims.

     53. The Proclamation is an outgrowth of EO-2, which directed the Departments of State and

        Homeland Security to conduct a “worldwide review” to determine whether additional

        information would be required from some countries to properly adjudicate visa

        applications.11 This review found 47 countries to be “inadequate” or “at risk” of

        becoming “inadequate.” Proclamation at § 1(e).        But the end product was just a

        permanent iteration of EO-1 and EO-2, establishing indefinite wholesale bans on five of

        the same Muslim countries, based on the same religious animus.

     54. On September 27, 2017, Defendant Trump was asked why Sudan was removed from the

        ban list. Defendant Trump provided no explanation for this action.

     55. The addition of North Korea and a small number of Venezuelan government officials to

        the travel blacklist is a transparent attempt to disguise the Proclamation’s anti-Muslim

        intent. Only a tiny number of travelers would be affected (just 109 visas were issued to

        North Korean nationals in 2016, for example),12 and neither country has a history of

        sponsoring terrorism in the United States.



11
   This review was required by EO-2 § 2. It was temporarily enjoined by a federal court as part of
the travel ban litigation, but allowed to go forward in June 2017. Hawaii v. Trump, No. 17-
00050-DKW-KSC at 23 (D. Haw. Mar. 23, 2017); Hawaii v. Trump, 859 F.3d at 741.
12
   Department of State – Bureau of Consular Affairs, Table XVIII: Nonimmigrant Visas Issued by
Nationality (Including Border Crossing Cards) Fiscal Year 2007-2016,
https://travel.state.gov/content/dam/visas/Statistics/Non-Immigrant-
Statistics/NIVDetailTables/FY16%20NIV%20Detail%20Table.pdf (last accessed Oct. 4, 2017)


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   56. Overall, the Proclamation bars approximately 138 million Muslim nationals from six

       Muslim-majority nations, which is more than 85% of the people affected by the

       Proclamation.13

   57. The practical effects of the Proclamation also bear a striking resemblance to EO-2. Using

       2016 data as a baseline, the current policy would ban 76% of nonimmigrant visa

       applicants and 91% of immigrant visa applicants affected by the previous order.14 The

       overlap is substantial despite the inclusion of Chad and North Korea, which together only

       had 1,049 total visas issued in 2016 of the kind affected by the Proclamation – tourist,

       business, and immigrant visas for Chad (940), and all visas for North Korea (109).

       Likewise, the addition of Venezuela does not meaningfully change the calculus because

       the restrictions apply only to government officials and their families, not to ordinary visa

       applicants.

   58. In effect, the Proclamation makes permanent many of the temporary restrictions imposed

       by EO-1 and EO-2. For example, whereas EO-2 temporarily banned Iranian nationals



(100 nonimmigrant visas issued); Department of State – Bureau of Consular Affairs, Table XIV:
Immigrant Visas Issued at Foreign Service Posts (by Foreign State Chargeability) (All
Categories) Fiscal Years 2007-2016,
https://travel.state.gov/content/dam/visas/Statistics/AnnualReports/FY2016AnnualReport/FY16
AnnualReport-TableXIV.pdf (last accessed Oct. 4, 2017) (9 immigrant visas issued).
13
   See Pew Research Ctr., The Global Religious Landscape 45–50 (2012).
14
   Harsha Panduranga, Faiza Patel, & Michael Price, Extreme Vetting & the Muslim Ban 14
(2017). For State Department figures on total nonimmigrant U.S. visa types issued to foreign
states, see Department of State – Bureau of Consular Affairs, FY 2016 Nonimmigrant Visas
Issued, https://travel.state.gov/content/dam/visas/Statistics/Non-Immigrant-
Statistics/NIVDetailTables/FY16%20NIV%20Detail%20Table.pdf (last accessed September 26,
2017). For State Department figures on U.S. immigrant visas issued to foreign states, see
Department of State – Bureau of Consular Affairs, Table XIV: Immigrant Visas Issued at
Foreign Service Posts (by Foreign State Chargeability) (All Categories) Fiscal Years 2007-
2016, supra. Data from the tables above were used in combination with the visa issuance types
exempted from Executive Order 13780 and Proclamation 9645 to calculate the total number of
individuals in the new policy banned from entry in Panduranga, Patel, & Price, supra, at 14.


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   from obtaining any visas, the Proclamation permanently bans Iranian nationals from

   obtaining most kinds of visas. For the few visas still available to Iranian nationals, those

   visas are now subjected to a different process.

59. Like EO-2, the Proclamation makes it impossible for nationals from Syria, Somalia,

   Libya, Yemen, and Iran to obtain immigrant visas. Like EO-2, the Proclamation makes it

   impossible for Syrian nationals to obtain any non-immigrant visas and prohibits nationals

   from Libya, Yemen, and Iran from obtaining many kinds of non-immigrant visas. And

   like EO-2, the Proclamation is rooted in religious animus, not reasonably related to

   legitimate national security concerns.

                       Facts Relating to the Claims of the Plaintiffs

                                      Eblal Zakzok

60. Plaintiff Eblal Zakzok (“Zakzok”) is a native of Syria and a lawful permanent resident of

   the United States, who currently resides in Columbus, Ohio.

61. Zakzok attended graduate school at the University of Manchester in the United Kingdom.

   In 2008, after obtaining his PhD, he returned to Syria and was employed as a full-time

   assistant professor at Aleppo University until the beginning of 2014, when Syrian regime

   security forces detained, beat and tortured him for two weeks.

62. In September 2014, Zakzok and his family fled from Syria to Turkey, to escape the

   horrific civil war, and to escape further persecution and torture.

63. While his wife and children temporarily remained in Turkey, Plaintiff Zakzok came to

   the United States on September 30, 2014 to present a paper at an international conference

   in Michigan and requested asylum.




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64. He was granted asylum on December 17, 2014 and was assisted by The Scholar Rescue

   Fund of the Institute of International Education in obtaining a fellowship at the Ohio

   State University where he teaches Surveying, Remote Sensing and Geographical

   Information Systems.

65. Following his successful asylum application, Plaintiff Zakzok’s wife and three of his

   children were granted asylee benefits on January 25, 2016. Shortly thereafter, they

   traveled to the United States to be reunited with Plaintiff Zakzok.

66. Plaintiff Zakzok’s remaining daughter, Turkie Zakzok, was forced to remain in Turkey

   because she was over 21 at the time he was granted asylum and thus did not qualify for

   derivative asylum benefits.

67. On August 25, 2017, Plaintiff Zakzok filed a Petition for Alien Relative, Form I-130,

   seeking approval for his daughter, Turkie, to immigrate to the United States. The Petition

   is currently still pending with USCIS.

68. On September 24, 2107, President Trump issued a Presidential Proclamation which bars

   all Syrians from entering the US on either immigrant or non-immigrant visas after

   October 18, 2017.

69. The Proclamation will bar Plaintiff Zakzok’s daughter from obtaining the immigrant visa

   she has applied for and will prevent her from immigrating to the United States to be

   reunited with her father, mother and other siblings.

70. Plaintiff Zakzok’s daughter cannot obtain permanent legal residence in Turkey, and is

   therefore at risk of being returned to Syria, where she could face torture and or death.

71. If allowed to go into effect, the Proclamation will deny Plaintiff Zakzok and his family

   the ability to be a regular and immediate part of each other’s lives. Additionally, Plaintiff




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   Zakzok and his daughter will be forced to continue to live with the fear that his daughter

   will be targeted by the many criminals in Turkey who specifically target Syrian women.

                                   Sumaya Hamadmad

72. Plaintiff Sumaya Hamadmad (“Hamadmad”), a native of Syria, is a U.S. citizen residing

   in Ohio.

73. On October 3, 2017, Hamadmad’s sister, a Syrian national currently residing in Amman,

   Jordan, applied for a B1/B2 visa to enter the United States in order to visit her siblings

   and other relatives and to participate in an academic project with American researchers.

74. Hamadmad’s sister’s research is for a collaborative project that involves the epigenetics

   of transgenerational trauma of Syrian refugees. She has been the team leader for data

   collection of this project in Jordan since 2016 while affiliated with a professor at a

   university in Jordan. Specifically, she has been in charge of identifying, recruiting, and

   collecting DNA samples and interview data from all of the families in the study.

75. A U.S. university has invited Hamadmad’s sister to provide input on the specifics

   regarding the collection of the swab samples and analyses.

76. The Proclamation will prevent Hamadmad’s sister from being able to obtain the required

   non-immigrant visa and will thus bar her from traveling to the United States for any

   reason. This ban applies to her even though she was born in Jordan and has never been

   inside of Syria.

77. Additionally, Hamadmad’s husband has filed an I-130 Petition for Alien Relative seeking

   approval for his father, who is currently residing in Syria and is a Syrian national, to

   immigrate to the United States. Due to the current dangerous situation in Syria, it is

   urgent that Hamadmad’s father-in-law’s application be processed and approved as soon




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   as possible. The Proclamation, however, will also prevent Hamadmad’s father-in-law

   from having his application for an immigrant visa approved.

                                        Fahed Muqbil

78. Plaintiff Fahed Muqbil is a United States citizen of Yemeni origin. He grew up in

   Louisiana and currently resides in Mississippi. In 2012, Muqbil met and married his

   wife, a Yemeni national. They have two daughters. The youngest daughter was born in

   Yemen in 2016 with a very serious birth defect and its co-morbid conditions –

   meningomyelocele (spina bifida), hydrocephalus with VP shunt, Chiari II malformation,

   neurogenic bladder, hydro nephrosis, infantile spasms, an epilepsy that is very difficult to

   contract, dysphasia, and worsening vision.

79. After her birth, Muqbil travelled from Yemen to Egypt to seek immediate, emergency

   treatment for her birth defect. During this time, her head size increased markedly and her

   vision begin to worsen.

80. In May 2017, Muqbil left his wife overseas in Egypt in order to bring his baby daughter

   to the United States. She was immediately hospitalized at a Children’s hospital. The

   hospital began treating her worsening hydrocephalus, the urinary tract infection, and her

   seizure disorder. After three weeks, she was discharged to her father and his family.

   Two weeks later, she was hospitalized again for increasing seizure activity. Currently,

   she is under the care of a neurologist and is on constant medication. According to her

   doctors, this type of epilepsy carries a poor neurodevelopmental outcome and that she

   will have to be closely monitored for the rest of her life.

81. Since her time in the United States, the baby has undergone many life-threatening

   surgeries. Her doctors predict more surgeries may be needed. The mother, Muqbil’s




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   wife, has not seen her baby for nearly five months. She was not able to be with her

   daughter nor could she provide her with care during this time.

82. Muqbil submitted an I-130 petition for his wife in June 2017, and the petition was

   approved on August 17, 2017. Muqbil and his wife are currently in Egypt in preparation

   for a visa interview scheduled for October 10, 2017. Their daughter is with his family in

   Mississippi while they navigate the visa process. The baby has multiple appointments,

   medications, and possible emergency room visits.

83. Unless Muqbil’s wife’s immigrant visa is issued prior to October 18, 2017, she will be

   indefinitely banned from caring for her baby and reuniting with Muqbil and her family.

   For the welfare of her baby and family, Muqbil’s wife is needed in the United States.

                                        John Doe #1

84. John Doe #1 is a United States citizen residing in New Jersey.

85. In August 2017, John Doe #1 married a Syrian national in the United States. John Doe

   #1’s spouse then left the country while he worked to set up their home together and apply

   for her to come to the United States as an immigrant on the basis of their marriage.

86. John Doe #1’s spouse now resides in Portugal.

87. John Doe #1 intends to bring his wife to the United States but, in light of the

   Proclamation, it would be futile for him to file an I-130 petition seeking approval for her

   to immigrate to the United States, as there is no chance such a petition would be

   adjudicated and a visa issued prior to the Proclamation’s categorical immigrant visa ban

   which comes into effect on October 18, 2017.

                                         Jane Doe #2

88. Jane Doe #2 is a United States citizen, originally from Syria, and a resident of Maryland.




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89. Jane Doe #2’s mother entered the United States in June 2016 and became a lawful

   permanent resident a year later in June 2017. Jane Doe #2’s mother now resides in

   Maryland with Jane Doe, her husband, and their child.

90. Since Jane Doe #2’s mother left for the United States, her father has lived and worked in

   a Gulf nation. Because of work obligations, Jane Doe #2’s father was not ready to come

   to the United States permanently at the time when his wife, Jane Doe #2’s mother,

   entered the United States and later became a lawful permanent resident.

91. Though living and working abroad, Jane Doe #2’s father has entered the United States on

   a tourist visa multiple times without incident.

92. Jane Doe #2 is now pregnant with her second child, and her father has decided to join his

   wife, daughter, and grandchildren in the United States permanently.

93. Earlier this year, Jane Doe #2 submitted an I-130 petition seeking approval for her father

   to immigrate to the United States.

94. USCIS approved the petition submitted by Jane Doe #2 on her father’s behalf.

95. Upon receiving that approval, Jane Doe #2’s father began his visa application, though he

   has not yet been interviewed.

96. Because he is seeking an immigrant visa and is a Syrian national, the Proclamation will

   bar Jane Doe #2’s father from entering the United States.

                                        Jane Doe #3

97. Jane Doe #3 is a US citizen residing in Minnesota.

98. Jane Doe #3 is engaged to a Somali foreign national residing in Malaysia, where he has

   lived since 2008.




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99. In late 2016, Jane Doe #3 filed an I-129F Petition with USCIS seeking a K-1 visa for her

   fiancé. The K-1 visa would permit her fiancé to enter the United States, get married, and

   pursue permanent residence in the United States.

100.         USCIS approved Jane Doe #3’s I-129F in March 2017, which then allowed her

   fiancé to apply to the Department of State for his visa.

101.         Jane Doe #3’s fiancé has been interviewed by a consular official in Malaysia, has

   submitted all requested information, and is now eligible for the visa for which he applied.

102.         However, Section 2(h)(ii) of the Proclamation provides that the entry into the

   United States of nationals of Somalia as immigrants is suspended. Because the visa

   sought is an immigrant visa, Jane Doe #3’s fiancé will be prohibited from obtaining a

   visa because of the Proclamation.

                                      CAUSES OF ACTION

                                          COUNT I

                         (First Amendment – Establishment Clause)
                                 (On behalf of all Plaintiffs)

103.         The foregoing allegations are repeated and incorporated as though fully set forth

   herein.

104.         The Establishment Clause of the First Amendment prohibits the federal

   government from officially preferring one religion over another, including actions

   intended to disfavor a religion.

105.         Section 2 of the Proclamation and Defendants’ actions to implement it are

   intended to disfavor Islam, and have the effect of disfavoring Islam.




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106.         Section 2 of the Proclamation and Defendants’ actions to implement it violate the

   Establishment Clause by singling out Muslims for disfavored treatment that is neither

   justified by, nor closely fitted to, any compelling governmental interest.

107.         Defendants’ violation of the Establishment Clause is causing ongoing and

   immediate harm to Plaintiffs.

                                          COUNT II

             (Immigration and Nationality Act & Administrative Procedure Act)
                               (On behalf of all Plaintiffs)

108.         The foregoing allegations are repeated and incorporated as though fully set forth

   herein.

109.         The Immigration and Nationality Act provides, with certain exceptions not

   applicable here, that “no person shall receive any preference or priority or be

   discriminated against in the issuance of an immigrant visa because of the person’s race,

   sex, nationality, place of birth, or place of residence.” 8 U.S.C. § 1152(a)(1)(A).

110.         Plaintiff Zakzok’s daughter has applied for an immigrant visa, but pursuant to

   Section 2 of the Proclamation, her application will be categorically denied after October

   18, 2017. The Proclamation requires denial because of her Syrian nationality, in violation

   of 8 U.S.C. § 1152(a)(1)(A).

111.         Plaintiff Hamadmad’s father-in-law has applied for an immigrant visa, but

   pursuant to Section 2 of the Proclamation, his application will be categorically denied

   after October 18, 2017.        The Proclamation requires denial because of his Syrian

   nationality, in violation of 8 U.S.C. § 1152(a)(1)(A).

112.         Plaintiff Fahed Muqbil’s wife has applied for an immigrant visa, but pursuant to

   Section 2 of the Proclamation, her application will be categorically denied after October



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   18, 2017. The Proclamation requires denial because of her Yemeni nationality, in

   violation of 8 U.S.C. § 1152(a)(1)(A).

113.       Plaintiff John Doe #1’s wife plans to apply applied for an immigrant visa, but

   pursuant to Section 2 of the Proclamation, her application will be categorically denied

   after October 18, 2017. The Proclamation requires denial because of her Syrian

   nationality, in violation of 8 U.S.C. § 1152(a)(1)(A).

114.       Plaintiff Jane Doe #2’s father has applied for an immigrant visa, but pursuant to

   Section 2 of the Proclamation, his application will be categorically denied after October

   18, 2017. The Proclamation requires denial because of his Syrian nationality, in violation

   of 8 U.S.C. § 1152(a)(1)(A).

115.       Plaintiff Jane Doe #3’s fiancé has a pending immigrant visa based on her

   engagement with her fiancé. Pursuant to Section 2 of the Proclamation, his application

   will be categorically denied after October 18, 2017. The Proclamation requires such

   denial because of his Somali nationality, in violation of 8 U.S.C. § 1152(a)(1)(A).

116.       Section 2 of the Proclamation explicitly mandates discrimination against

   immigrant visa applicants because of their nationality, in violation of 8 U.S.C. §

   1152(a)(1)(A).

117.       The actions of Defendants, as set forth above, are arbitrary, capricious, and an

   abuse of discretion, or are otherwise not in accordance with law; contrary to

   constitutional right, power, privilege, or immunity; in excess of statutory jurisdiction,

   authority, or limitations, or short of statutory right; and without observance of procedure

   required by law, in violation of the Administrative Procedure Act, 5 U.S.C. §§ 706(2)(A)-

   (D).




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                                         COUNT III

(Substantive Violation of the Administrative Procedure Act through Violations of the
Constitution, Immigration and Nationality Act, and Arbitrary and Capricious Action)
                              (On behalf of all Plaintiffs)

118.         The foregoing allegations are repeated and incorporated as though fully set forth

   herein.

119.         The APA requires courts to hold unlawful and set aside any agency action that is

   “arbitrary, capricious, and abuse of discretion, or otherwise not in accordance with law”;

   “contrary to constitutional right, power, privilege, or immunity”; “or “in excess of

   statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. §

   706(2)(A)-(C).

120.         In issuing and implementing the Proclamation, Defendants have acted contrary to

   the Establishment Clause of the United States Constitution.

121.         In issuing and implementing the Proclamation, Defendants have acted contrary to

   the INA.

122.         Defendants have engaged in nationality-based discrimination, contrary to 8

   U.S.C. § 1152(a)(1)(A).

123.         Defendants have violated the INA by establishing an ultra vires regime for

   processing nonimmigrant visa applications. Defendants have upended the extensive and

   complex vetting scheme crafted by Congress and replaced them with a blunt new regime

   of bans, requirements, exceptions, and waivers.

124.         Defendants are attempting to set their own standard for admission to the United

   States. Proclamation at §§ 2(c), 6(a). They also seek to erase a carefully calibrated

   congressional scheme for vetting visa applicants, including a comprehensive “terrorism




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   bar,” 8 U.S.C. § 1182(a)(3)(B); detailed vetting rules, 8 U.S.C. §§ 1202(b)-(d), 1361; and

   exclusions from the Visa Waiver Program, 8 U.S.C. § 1187(a)(12). In short, Defendants

   seek to permanently replace an extensive, congressionally-crafted system with its own

   warren of waivers and exceptions, imposing burdens on the applicant that are in conflict

   with the provisions of the INA. Proclamation at §§ 3(a)-(c).

125.       Plaintiff Hamadmad’s sister has been invited to be a researcher at a top American

   university and would otherwise be eligible for a B1/B2 (nonimmigrant) visa, but pursuant

   to Section 2 of the Proclamation, her application will be categorically denied after

   October 18, 2017.

126.       Plaintiff Jane Doe #3’s fiancé has applied for a fiancée visa and would otherwise

   be eligible to receive it, but pursuant to Section 2 of the Proclamation, his application will

   be categorically denied after October 18, 2017.

127.       In issuing and implementing the Proclamation, Defendants have acted arbitrarily

   and capriciously. While Defendants have sought to portray as objective and considered

   the process that led to selecting eight countries for sanctions, it is evident that this is not

   the case. EO-1 required the Departments of State and Homeland Security to review

   “identity-management and information-sharing capabilities, protocols, and practices,” but

   the decisions on which countries to exclude relied to an unspecified extent on other, less

   objective concerns such as a broad-ranging “risk assessment.” Even with that subjectivity

   built into the process, the Proclamation acknowledges that it did not follow the

   conclusions of the review. Iraq was found to have failed the State Department’s baseline

   standards, but left off the blacklist. Somalia, on the other hand met the standards, but was

   nevertheless included. The issuance of all immigrant visas was stopped, even though the




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   individuals applying for them have the strongest connections to the United States and

   undergo extraordinary vetting prior to approval. Nor does the Proclamation provide any

   rationale for why certain categories of visas (primarily tourist and business) are excluded

   while others (such as students) are permitted. More broadly, the Proclamation purports to

   protect the country from terrorism, but affects millions of people who have absolutely no

   connection to terrorism. Through their actions described in this Complaint, Defendants

   have violated the substantive requirements of the APA. Defendants’ violation inflicts

   ongoing and immediate harm on Plaintiffs.

                                         COUNT IV

                (Procedural Violation of the Administrative Procedure Act)
                               (On behalf of all Plaintiffs)

128.         The foregoing allegations are repeated and incorporated as though fully set forth

   herein.

129.         The APA requires courts to hold unlawful and set aside any agency action taken

   “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

130.         The Departments of State and Homeland Security are “agencies” under the APA.

   See 5 U.S.C. § 551(1).

131.         The APA requires that agencies follow rulemaking procedures before engaging in

   action that impacts substantive rights. See 5 U.S.C. § 553.

132.         In implementing the Proclamation, federal agencies have changed the substantive

   criteria by which individuals from the targeted countries may enter the United States.

   This change, among other actions by Defendants, impacts substantive rights.

133.         Defendants did not follow the rulemaking procedures required by the APA in

   enacting and implementing the Executive Order.



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   134.       Defendants have violated the procedural requirements of the APA. This violation

      inflicts ongoing and immediate harm upon Plaintiffs.

                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray that this Court:

           A. Declare that Section 2 of the Proclamation is unauthorized by, and contrary to, the

              Constitution and laws of the United States;

           B. Enjoin the Defendants from implementing or enforcing Section 2 of the

              Proclamation across the nation;

           C. Award any other relief as the Court may deem just and proper.

Dated: October 6, 2017                       Respectfully submitted,

                                             /s/ Charles E. Davidow

                                             Charles E. Davidow (Bar # 06516)
                                               PAUL, WEISS, RIFKIND,
                                               WHARTON & GARRISON LLP
                                               2001 K Street NW
                                               Washington, DC 20006-1047
                                               Tel.: (202) 223-7300
                                               Fax: (202) 223-7420
                                               cdavidow@paulweiss.com

                                             Robert A. Atkins†
                                             Liza Velazquez†
                                             Andrew J. Ehrlich†
                                             Steven C. Herzog†
                                               PAUL, WEISS, RIFKIND,
                                               WHARTON & GARRISON LLP
                                               1285 Avenue of the Americas
                                               New York, NY 10019-6064
                                               (212) 373-3000
                                               Tel.: (212) 373-3000
                                               Fax: (212) 757-3990
                                               ratkins@paulweiss.com
                                               lvelazquez@paulweiss.com
                                               aehrlich@paulweiss.com
                                               sherzog@paulweiss.com



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                            Lena F. Masri†
                            Gadeir Abbas*†
                             Council on American-Islamic
                             Relations (CAIR)
                             453 New Jersey Avenue SE
                             Washington, D.C. 20003
                             Tel.: (202) 488-8787
                             Fax: (202) 488-0833
                             lfmasri@cair.com
                             gabbas@cair.com

                            Faiza Patel†
                            Michael Price†
                             Brennan Center for Justice
                             at NYU School of Law
                             120 Broadway, Suite 1750
                             New York, NY 10271
                             Tel.: (646) 292-8335
                             Fax: (212) 463-7308
                             faiza.patel@nyu.com
                             michael.price@nyu.com

                            Jethro Eisenstein†
                               Profeta & Eisenstein
                               45 Broadway, Suite 2200
                               New York, New York 10006
                               Tel.: (212) 577-6500
                               Fax: (212) 577-6702
                               jethro19@gmail.com

                            Counsel for Plaintiffs

                            †Pro hac vice applications forthcoming
                            *Licensed in VA; not in DC. Practice
                            limited to federal matters




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